                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                                Plaintiffs,

                           v.

 BROWN UNIVERSITY, CALIFORNIA                             Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
 OF CHICAGO, THE TRUSTEES OF COLUMBIA                     Hon. Matthew F. Kennelly
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                                Defendants.



                         DECLARATION OF ROBERT D. GILBERT

               I, ROBERT D. GILBERT, am a partner at the law firm of Gilbert Litigators &

Counselors P.C., counsel for Plaintiffs in this case. I hereby declare as follows:

               1.      I submit this Declaration in support of Plaintiffs’ Motion to Compel

Production of Documents responsive to Plaintiffs’ First and Second, and a certain portion of the

Third, Set of Requests for Production of Documents (“RFPs”).
               2.      Attached as Exhibits 1, 2 and 3 are Plaintiffs’ First, Second and Third Sets

of RFPs, respectively, served on September 19, 2022, November 7, 2022, and January 26, 2023.

Defendants served responses to these three sets of RFPs on October 29 and December 22, 2022,

and February 27, 2023, respectively.

               3.      Attached as Exhibit 4 is the email string concluding with Britt H. Miller,

Esq.’s email of January 31, 2023 on behalf of Defendants resolving the final open question

regarding agreement on the temporal scope of pre-complaint document production.

               4.      In a February 1, 2023 email following up on an original January 29, 2023

email, on behalf of Plaintiffs, I invited each individual Defendant to advise Plaintiffs if, due to

that Defendant’s “exceptional individualized circumstances,” that individual Defendant had a

particular issue with the global resolutions that had been reached concerning document

production. A copy of my emails are attached as Exhibit 5.

               5.      In response to the Court’s directive, Plaintiffs pared down their original

three sets of RFPs, totaling 192 RFPs, to a total of 93 RFPs. Attached as Exhibit 6 is a copy of

the email of Edward J. Normand, Esq. of February 14, 2021 forwarding the schedule reflecting

this, along with the subsequent email correcting one typographical error in that schedule and the

corrected schedule itself.

               6.      In their February 27, 2023 Response to Plaintiffs’ Third Set of RFPs

Defendants refused to agree to produce documents in response to RFPs 11 and 13 relating to

donations records.

               7.      Attached as Exhibit 1 to Plaintiffs’ Local Rule 37.2 Statement is a copy of

my 4-page email to Defendants’ counsel of February 28, 2023, with attached Appendices A and

B. As part of these Appendices, Plaintiffs, among other things, identified which Defendants

refused to respond to each RFP in the First and Second Set of RFPs, or, in certain limited

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circumstances, stated that the Defendant required the parties to Meet & Confer before the

Defendant determined whether it would respond.

               8.      Attached as Exhibit 2 to Plaintiffs’ Local Rule 37.2 Statement is a copy of

the one paragraph responding March 2, 2023 Sarah F. Kirkpatrick, Esq email on behalf of

Defendants.

               9.      Plaintiffs have already begun to schedule depositions of the 6 deponents

from the 6 Defendants where Defendants have withdrawn the 568 Exemption defense, with the

understanding that Plaintiffs would have the documents regarding the donations and admissions

in hand in order to prepare for these depositions, and in accordance with the Court’s guidance,

the deponents would have them too. See my March 15, 2023 email to Jon R. Roellke, Esq., on

behalf of Brown, his reply letter of March 17, 2023, and my further reply email of March 19,

2023, all attached as Exhibit 7. The deposition of Brown’s official is scheduled for April 18,

2023. Today, March 21, 2023, counsel for Brown agreed to produce documents responsive to

RFP No. 22 within a week.

               10.     The following is a brief description of Plaintiffs rationale behind

Plaintiffs’ RFPs (in the First Set, unless otherwise noted) that are not donation- or wealth

favoritism-related and as to which no Defendants initially refused to produce documents, but one

or two Defendants would not agree to produce documents without first having a Meet & Confer:

       RFP No. 2: Data Concerning Applicants. This is baseline information relevant to, for

example, the calculation of net price of attendance across different types of applicants. This

relates to liability and damages.


       RFP No. 3: Data Concerning Financial Aid Applicants . This is baseline information

relevant to, for example, the calculation of net price of attendance and the amount of financial

aid awarded. This relates to damages.
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        RFP No. 4: Structured Data Concerning Management of Financial Aid and

Enrollment Management Software. This relates to the school’s operation as a revenue-

maximizing or non-altruistic commercial enterprise, and to the school’s efforts to reconcile

financial aid-related goals with broader admissions goals. This relates to liability.


        RFP No. 7: Data Concerning the School’s Formula for Determining Financial Aid.

This relates to the Defendants’ collective application of the same financial aid formulae. This

relates to liability and damages.


        RFP No. 12: Data Concerning the School’s Waitlisted Applicants. This relates to

whether the school had made need-blind admissions for such applicants, an issues that relates to

liability.

        RFP No. 14: Data Concerning the School’s Transfer Applicants. This relates to

whether the school had made need-blind admissions for such applicants, an issue that relates to

liability and damages.


        RFP No. 16: Data Concerning the Calculation of Net Price of Attendance for the

Schools’ Applicants and Students. This relates to damages. This is a key metric for any

comparison between such prices at the Defendants in comparison to other schools in the relevant

market.


        RFP No. 31: Documents Concerning Preferential Treatment of Applicants Who Did

Not Need Financial Aid, and the Schools’ Use of Enrollment Management to Achieve

Revenue or Other Goals . This relates to the schools’ admissions practices and their operation

as revenue-maximizing or non-altruistic commercial enterprises, issues which relate to liability

and damages.

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       RFP No. 48: Documents Presented to the School’s Prospective Applicants

Comparing Its Financial Aid Policies and Practices to Those at Other Schools. This relates

to the Defendants’ collective application of the same financial aid policies or practices, and to

how they compare to those at other schools, issues which relate to liability and damages.


       RFP No. 70: Documents Analyzing or Comparing Which Other Schools the School’s

Applicants Would Choose to Apply to and Attend. This is relevant to the analysis of the

relevant market as Plaintiffs have defined it, an issue related to liability and damages.


       RFP No. 77: Documents Concerning the Schools’ Use of Enrollment Management.

This relates to the schools’ operations as revenue-maximizing or non-altruistic commercial

enterprises, and to the schools’ efforts to reconcile financial aid-related goals with broader

admissions goals, issues relating to liability.

       RFP No. 2 (in the Second Set): Documents Concerning Any Scoring Methodologies

That the School Has Used in Admissions. This relates to the school’s efforts to achieve certain

admissions goals, an issue relating to to liability. On February 8, 2023, the Court stated: “The

Court reaffirms its earlier statements that admissions scoring data is relevant and discoverable.”

(Dkt. 315.).


               11.     The following is a brief description of Plaintiffs rationale behind

Plaintiffs’ RFPs that are not donation- or wealth favoritism-related and as to which some, but not

all, Defendants initially refused to produce documents, along with an identification of which

Defendants refused to produce:

       RFP No. 38: Communications Among 568 Members and Government Entities

Regarding Financial (Duke, Penn). This goes to evidence regarding the basis and nature of the

Defendant’s financial aid policies, practices, and objectives, and similarly about such policies,

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practices, and objectives within the 568 Group.


        RFP No. 49: Revenue, Endowment, Development and Cost Information (Chicago,

Duke, Georgetown, Yale). This relates to the schools’ operations as revenue-maximizing or

non-altruistic commercial enterprises, and to the schools’ efforts to reconcile financial aid-related

goals with broader admissions goals, all of which relates to the Defendants’ procompetitive

justifications for the alleged conspiracy at issue and the less restrictive means to achieve such

ends.


        RFP No. 51: Statements of Reasons for Public Explanations of Tuition Increases

(Georgetown, Penn). This request goes to the issue of concealment related to Defendants’

statute of limitations affirmative defense. Where Defendants have offered explanations for

tuition increases other than as a result of the 568 Group, Plaintiffs must determine whether

Defendants had support for those statements, all of which relates to Plaintiffs’ arguments that a

reasonable person would not have known that Defendants’ violations of the antitrust laws were

causing them any injury.


        RFP No. 54: Policies and Practices Regarding Admissions and Financial Aid

(Chicago). Plaintiffs are seeking documents to better understand the application and financial aid

practices of each Defendant. Those practices and their relationship to each other and to the

practices of other Defendants are central issues concerning the alleged conspiracy at issue.


        RFP No. 103: Market Definition—Statement by Georgetown (Emory, JHU, Notre

Dame, Penn, Yale). Plaintiffs seek documents regarding the specific statement and the support

for it which are evidence regarding the relevant market, as Plaintiffs have defined it, and how

Defendants have internally defined the market in which they believe they compete.


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       RFP No. 114: Yale’s Announcement of Leaving the 568 Group (Emory, JHU, Notre

Dame, Penn). Such documents relate to the schools’ analysis of the operation, goals, and effects

of the 568 Group, all of which relate to both liability and damages, and, for example, may

provide evidence of the Plaintiffs’ principal contention that membership in the 568 Group

suppresses the amount of financial aid its members provide.


       RFP No. 115: Yale’s Decision to Re-Join the 568 Group (Chicago, Duke, Emory,

JHU, Notre Dame, Penn). Such documents relate to the schools’ analysis of the operation,

goals, and effects of the 568 Group and, for example, may provide evidence concerning Yale’s

participation in Defendants' conspiracy, the purposes of the conspiracy, and the reasoning behind

withdrawal.


       RFP No. 142: Communications with Other Schools Regarding Extending or

Modifying the 568 Exemption (Duke). This goes to evidence of actions taken by Defendants in

aid of their conspiracy and, for example, may provide evidence of the schools’ analyses of the

operation, goals, and effects of the 568 Group, all of which relate to both liability and damages.


       RFP No. 150: Use of Endowment Funds in Relation to Financial Aid (all Defendants

except Duke). The responsive documents bear on Defendants’ argument that their actions as

members of the 568 Group were altruistically motivated and increased financial aid, and on

Plaintiffs’ prospective argument—if the Rule of Reasons were to apply—that there were less

restrictive alternatives for Defendants to achieve such goals.


       RFP No. 151: Merit Aid (Northwestern). The responsive documents are relevant to the

history of the allocation of aid, the Rule of Reason analysis, and the extent to which merit aid

could affect the available pool of need aid from year-to-year. Documents concerning merit aid


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are relevant to the extent that schools use merit aid to compete for top students, but refuse to

compete for needy students.


       RFP No. 157: Princeton’s Announcement of Elimination of Loans (Chicago,

Columbia, Emory, Yale). Such documents relate to the schools’ analysis of the appropriate

goals in awarding financial aid, including the means for reaching those goals, and, for example,

may provide evidence of schools praising or denigrating Princeton for reducing the net price of

attendance and creating increased competition for needy applicants.


       RFP No. 160: Document Relied Upon for Responding to Interrogatories (Duke,

Northwestern). This is a standard request that only requires attention to what documents are

otherwise used in connection with the preparation of a Defendant’s interrogatory answers.


       RFP No. 163: Communications with Government Regarding Renewal and

Importance of the 568 Exemption (Chicago, Duke, Penn). This goes to evidence regarding the

basis and nature of the Defendant’s financial aid policies, practices, and objectives, and similarly

about such policies, practices, and objectives within the 568 Group.


       I hereby declare under penalty of perjury that the foregoing is true and correct.

Executed this 21st day of March, 2023         /s/ Robert D. Gilbert
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